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United States District Court

SOUTHERN DISTRICT GF INDIANA

UNITED STATES OF AMERICA

V CRIMINAL COMPLAINT
HUGo RAMoN RosALEs-MoRENo, CASOEINUMBER: 1:19"1“3'0424
CHRISTIAN PAZ-RECARTE, :02
KATHERiNE MoNIC NAVARRo, and _03
KELIN CLARISSEL MoRALEs-MARTINEZ _04

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief.

Beginning at a date unknown, continuing until on or about April 12, 2019, in the Southern District of
Indiana and elsewhere, defendants HUGO RAMON ROSALES-MORENO, CHRISTIAN PAZ-RECARTE,
KATHERINE MONIC NAVARRO, and KELIN CLARISSEL MORALES-MARTINEZ, did Conspire to
Distribute 400 grams or more of a mixture or substance containing a detectable amount of fentanyl, a Schedule ll
Controlled Substance, in violation of Title 21, United States Code, Sections 84l(a)(1) and 846.

l further state that l am a Special Agent, and that this complaint is based on the following facts:

See attached Affidavit

Continued on the attached sheet and made a part hereof.

MD<§£®

Erik Collins, Special Agent (DEA)

Sworn to before me, and subscribed in my presence

 

April 15, 2019 at Indianapolis, lndiana» -
Date , " ` "

 
   

Mark J. Dinsmore, U.S. Magistrate Judge /F , , , l , jr
Name and Title of Judicial Oft“lcer Signat\jJ/oyf J,i ci l Ofi'lcer \

 

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AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT
l, Erik Collins, being duly sworn under oath, states as follows:
TRAINING AND EXPERIENCE

l. I am a Special Agent with the Drug Enforcement Administration (DEA), United States
Department of Justice. l am an investigative or law enforcement officer within the meaning of Section
2501(7) of Title 18, United States Code; that is, an officer of the United States who is empowered by law
to conduct investigations of, and to make arrests for, offenses enumerated in Title 18, United States Code,
Section 2516.

2. l have been employed by the Drug Enforcement Administration (DEA) since 2011. l am
currently assigned to the DEA Indianapolis District Office, Indianapolis, Indiana, and have been so
assigned since June of 2017. During my employment as a law enforcement officer, I have participated in
investigations involving the manufacturing, trafficking, and distribution of illegal narcotics. l have
utilized, and am therefore familiar with, the following investigative techniques: consensual and court-
ordered electronic surveillance; physical surveillance; pole or other camera surveillance; trash covers; the
development and operation of informants and cooperating defendants; the execution of search warrants;
consent searches; undercover agent operations; Global Positioning Systems; parcel package drug
interdiction; motel drug interdiction; highway drug interdictions; and the debriefing of defendants,
witnesses, informants, and others who have knowledge of drug trafficking and of the laundering and
concealing of proceeds from drug trafficking

3. ln connection with my official DEA duties, I investigate criminal violations of state and
federal controlled substances laws, including, but not limited to, Title Zl, United States Code, Sections
841, 843, 846 and 848, as well as Sections 952, 960 and 963. l have received special training in the

enforcement of laws concerning controlled substances as found in Title 21 of the United States Code, l

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have been involved in various types of electronic surveillance and in the debriefing of defendants,
witnesses and informants, as well as others who have knowledge of the distribution and transportation of
controlled substances, and the laundering and concealing of proceeds from drug trafficking, in violation
of Title 18, United States Code Sections, 1956 and 1957. I have received training in investigations
involving the interception of wire and electronic communications l am familiar with the ways in which
drug traffickers conduct their business, including, but not limited to, their methods of importing and
distributing controlled substances and their use of telephones and code language to conduct their
transactions

4. I have participated in federal electronic wiretap investigations involving individuals
involved in the trafficking and distribution of controlled substances I am familiar with the ways in which
narcotics traffickers conduct their illicit business, including, but not limited to, their methods of importing
and distributing controlled substances and their use of telephones and coded language to conduct their
transactions

5. This affidavit is submitted in support of a complaint charging Hugo Ramon Rosales-
Moreno, Christian PaZ-Recarte, Katherine Monic Navarro and Kelin Clarissel Morales-Martinez with
Conspiracy to Distribute 400 grams or more of a Mixture or Substance Containing a Detectable Amount
of Fentanyl, in violation of Title Zl, United States Code Sections 84l(a)(l) and 846.

6. The statements contained in this Affidavit are based in part on my experience and
background as a Special Agent of the DEA; on information provided by and conversations held with other
law enforcement officers, including Special Agents/Task Force Officers of the DEA, officers of the
Indiana State Police (ISP), officers of the Putnam County Sheriff’ s Office (PCSO), other law enforcement
officers, and others described below; and on a review of reports.

7. I have not included each and every fact that has been revealed through the course of this

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investigation. l have set forth only the facts that are believed to be necessary to establish the required
foundation for the issuance of the requested Arrest Warrants.
FACTS AND CIRCUMSTANCES

8. On April 12, 2019, at approximately 10:52 a.m., Indiana State Police Trooper Yan
Dravigne was conducting stationary traffic enforcement travelling east on lnterstate 70 in Morgan County,
Indiana. While Trooper Dravigne was surveilling traffic passing his position, Trooper Dravigne observed
a white F ord F-150 pickup truck bearing Califomia license plates following a tractor trailer at an
unreasonably close distance. Trooper Dravigne then observed that same Ford F-150 pickup truck
suddenly merge into the passing lane of traffic without properly signaling its intention to switch lanes. As
the F ord F-150 merged into the passing lane, Trooper Dravigne activated his LIDAR (a device which uses
laser to track the speed of moving vehicles) and tracked the Ford pickup trucks speed at 60 miles per hour
in a 70 miles per hour zone causing traffic to slow. Trooper Dravigne quickly caught up to the Ford F-
150 pickup, and attempted to view the occupants of the vehicle as he drove next to the truck, but Trooper
Dravigne was unable to see inside the vehicle due to excessively dark window tinting.

9. Trooper Dravigne initiated a traffic stop, and the Ford F-150 came to a stop on the right
shoulder of lnterstate 70 East. As Trooper Dravigne approached the truck, Trooper Dravigne motioned
to the driver to exit the vehicle since Trooper Dravigne was unable to see inside the vehicle. The driver,
later identified as Christian PAZ-RECARTE (hereinafter, PAZ), complied and exited the vehicle. Trooper
Dravigne observed PAZ to be overly nervous and could see his body physically trembling. Trooper
Dravigne also observed that PAZ’s eyes were bloodshot and PAZ appeared to be overly tired. During the
conversation with PAZ, PAZ informed Trooper Dravigne that he did not possess the proper documentation
to drive a vehicle and that he did not speak the English language. PAZ then montioned Trooper Dravigne

towards the truck, and requested that Trooper Dravigne speak with PAZ’s girlfriend “Alejandra,” because

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she spoke English.

10. Trooper Dravigne approached the passenger side of the Ford F-l 50 and made contact with
the front seat passenger, who identified herself with a California identification card as Katherine Monic
NAVARRO. During the conversation between Trooper Dravigne and NAVARRO, NAVARRO stated
that she was PAZ’s girlfriend and that they were travelling from Los Angeles, California to Columbus,
Ohio to visit NAVARRO’s aunt “Margaret” for two to three days. NAVARRO further stated that she has
never visited this aunt, and didn’t know her address except that her aunt lives near a University in
Columbus, Ohio. NAVARRO also informed Trooper Dravigne that the other occupants of the vehicle
were just friends and not related to the aunt.

ll. Trooper Dravigne then made contact with a male in the rear of the Ford F-lSO, who
identified himself by Mexico Matricula Consular identification card as Hugo Ramon ROSALES-
MORENO, and a second female was also in the rear of the Ford F-150, who identified herself with a
Honduras Passport as Kelin Clarissel MORALES-MARTlNEZ. Trooper Dravigne noticed that both rear
passengers also seemed overly tired and disoriented. At that time, Trooper Dravigne believed criminal
activity was afoot and requested the assistance of the Putnam County Sheriff’s Office.

12. Trooper Dravigne then returned to his Indiana State Police cruiser and asked PAZ to sit in
the passenger seat of Trooper Dravigne’s vehicle; PAZ complied. Trooper Dravigne began conducting
routine checks and issuing written warnings as Trooper Dravigne engaged PAZ in a conversation about
his travels. PAZ admitted that he has never had a license allowing him to operate a motor vehicle. PAZ
further identified himself by writing his name and date of birth on a piece of paper in Trooper Dravignes’
car as Christofer PAZ-RECARTE, DOB XX/XX/l990. PAZ stated that the passengers’ names were
Kelly, Chavelo, and Mimosa. PAZ further stated that the vehicle belonged to PAZ’s wife, Cherly

Hernandez. PAZ stated that his wife couldn’t make the trip because she had to work in California. PAZ

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stated that they were travelling to Columbus, Ohio to visit a family member of MORENO’s, and that they
would be there for three to four days.

13. After confirming the Ford F-150 pickup truck insurance certificate was expired, and
confirming that none of the vehicle occupants were licensed to operate a motor vehicle, Trooper Dravigne
contacted Indiana State Police dispatch and requested a Morgan County, Indiana wrecker service, in order
to impound the vehicle. Trooper Dravigne then presented PAZ with a Spanish version of the consent to
search form which includes the Indiana Pirlle warning and requested permission to search the vehicle,
After reading the form, PAZ stated that he understood his rights and consented to search the vehicle both
orally and by signing the form. Major Dwight Simmons of the Putnam County Sheriff’ s Office responded
to the traffic stop and performed a free air sniff around the Ford F-150 pickup truck with his certified
narcotics detection canine “Bo,”l which resulted in a positive alert to the odor of illegal drugs

l4. While performing a search of the Ford F-150, Trooper Dravigne found a plastic grocery
bag in a large truck mounted toolbox on the back of the truck. When Trooper Dravigne opened the plastic
bag he observed two cellophane wrapped kilogram size packages Suspected to contain illegal narcotics
All suspects were placed in custody at that time. A further search of the Ford F~150 revealed an additional
four kilogram sized packages hidden beneath the windshield cowling. A Morgan County, Indiana wrecker
service responded to the traffic stop and towed the vehicle to its business location (hereinafter, “the
garage”). Trooper Dravigne and Deputy Simmons followed the wrecker service and Ford F-150 to the
garage with all four individuals

15. At the garage, a field test was performed on one of the kilogram packages using a TruNarc

 

’ “Bo” is a 10 year old yellow Labrador, single-purpose narcotics detection dog with the Putnam County
Sheriff` s Office, Indiana. Bo was first certified in November 2009 with the lnternational Police Working
Dog Association (IPWDA) by Sgt. Dennis Wade, a Master Instructor with the Indiana State Police. Bo
has been re-certified on a yearly basis and is trained to detect the following odors: marijuana,
methamphetamine, cocaine, heroin, ecstasy. Bo is trained to passively alert to a narcotic odor by sitting.

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device. Subsequent to the field test utilizing the TruNarc it was determined that the substance contained
in the kilogram wrapping gave a positive result for the presence of fentanyl (that is, N-phenyl-N-[l-(Z-
phenylethyl-4-piperidinyl] propanamide, a Schedule II Controlled Substance). The amount of this
substance seized from the vehicle on April l2, 2019 exceeded 400 grams

l6. At approximately 3 102 p.m. on April 12, 2019, Katherine NAVARRO was interviewed by
law enforcement officers, which occurred at the garage in Morgan County, lndiana. NAVARRO, an
English speaker, had previously been read her Miranda Rights, and had agreed to speak with law
enforcement without the presence of an attorney. At the beginning of NAVARRO’s statement,
NAVARRO confirmed that she had fully understood her rights when they were previously read to her. ln
the course of this interview, NAVARRO acknowledged that she knew that the trip’ s purpose was to deliver
illegal drugs, but denied knowledge of what specific drug was to be delivered. NAVARRO admitted that
she was being paid to participate in this trip to Ohio to deliver drugs

l7. At approximately 3:13 p.m. on April 12, 2019, law enforcement officers conducted a
consensually recorded interview with Christian Noe PAZ at the gargage. Detective Cuevas read PAZ his
Miranda Rights in the Spanish language from the DEA-13a oral warning card, and PAZ stated that he
understood his rights and was willing to speak with law enforcement. ln the course of the recorded
interview that followed,2 PAZ stated that all four occupants of the car knew the purpose of the trip was to
deliver drugs to an individual in Ohio. PAZ acknowledged that he was participating in this trip for
financial compensation.

18. At approximately 4:10 p.m. on April l2, 2019, law enforcement officers conducted an
audio recorded interview with Kelin Clarissel MORALES-Martinez. One of the officers began to read

MORALES her Miranda Rights in the English language from DEA-13a card; as the agent was reading

 

2 PAZ made his statement in the Spanish language, and it was translated a law enforcement officer who
is fluent in both the Spanish and English languages.

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MORALES her rights, MORALES stated that she understood English, but would like to have her rights
read to her in Spanish. Detective Cuevas, who is fluent in both the Spanish and English languages, then
read MORALES her rights in the Spanish language from the DEA form. In the course of the recorded
interview that followed, MORALES stated that she was supposed to help drive the vehicle to Ohio.
MORALES stated that while they were on the road to Ohio, she became aware that they had drugs, but
claimed that she did not know the quantity or type. MORALES stated that while they were on this trip,
she had asked MORENO the quantity of drugs that they were transporting in the car, and MORENO asked
MORALES why she cared_that is, MORENO was unwilling to give MORALES more details about the
type and amount of controlled substances that they were delivering. ln the course of the interview,
MORALES again confirmed that she knew they were transporting controlled substances to Ohio.
MORALES acknowledged being paid $1,000 to assist in driving this drug-laden vehicle from California
to Ohio.
CONCLUSION

l9. Based upon my training and experience and the facts set forth herein, l submit that probable
cause exists for the arrest of Hugo Ramon Rosales-Moreno, Christian Paz-Recarte, Katherine Monic
Navarro and Kelin Clarissel Morales-Martinez, as set forth above.

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Erik Collins, Special Agent
Drug Enforcement Administration.

Sworn to before me on`this

 

 

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MARi< J. b MoRE '\\
United State agistrate Judge
Southern District of Indiana

